




Petition for Writ of Mandamus Dismissed and Memorandum Opinion filed May
19, 2009








Petition
for Writ of Mandamus Dismissed and Memorandum Opinion filed May 19, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00439-CR

____________

&nbsp;

IN RE EDWARD R. NEWSOME, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT OF MANDAMUS

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

On May
7, 2009, relator, Edward R. Newsome, filed a petition for writ of mandamus in
this Court.&nbsp; See Tex. Gov=t Code Ann '22.221 (Vernon 2004); see also
Tex. R. App. P. 52.1.&nbsp; In his petition, relator complains that he did not
receive credit for time served in jail before his trial for unauthorized use of
a motor vehicle.&nbsp; 

Relator
seeks post-conviction habeas relief.&nbsp; Although courts of appeals have
jurisdiction in criminal matters, only the Texas Court of Criminal Appeals has
jurisdiction over matters related to final post-conviction felony proceedings.&nbsp;
Ater v. Eighth Court of Appeals, 802 S.W.2d 241, 243 (Tex. Crim. App.
1991) (orig. proceeding).&nbsp; Therefore, we do not have jurisdiction in this
original proceeding.&nbsp; 








Accordingly,
relator=s petition for writ of mandamus is
ordered dismissed for lack of jurisdiction. 

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Seymore,
Brown, and Sullivan. 

Do Not PublishCTex. R. App. P. 47.2(b).





